	NO. 07-10-0323-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	NOVEMBER 24, 2010
	______________________________

	GREGORY BRYCE HANEY,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee
                        _______________________________
                                       
	FROM THE 64th DISTRICT COURT OF CASTRO COUNTY;

	NO. A3173-0805; HON. ROBERT W. KINKAID, JR., PRESIDING
	_______________________________
	
	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant Gregory Bryce Haney, by and through his attorney, has filed a motion to dismiss his appeal, signed by appellant, because he no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Do not publish.					Per Curiam		          
